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  VIRGINIA:

                  IN THE CIRCUIT COURT OF FAIRFAX COUNTY

 COMMONWEALTH OF VIRGINIA

 VS.                                                  Crim. No.: FE-2019-279
                                               :
                                               :
 CLARK WATSON,                                 :      Court Date: October 9, 2020
     Defendant.                                :

                                               ORDER

         THIS CAUSE came before the Court on Motion of Cybergenetics to Cybergenetics' Motion

 for Reconsideration and motion For Amended Protective Order of Cybergenetics and the Motion to

 Quash, as well as the replies by the Accused and the Commonwealth to those motions. The Court

 had also previously taken the Accused's Motion to Exclude DNA under advisement.

        On October 14, 2020, the Court heard evidence and the argument of counsel for

Cybergenetics, the Accused, and the Commonwealth.

        After considering all of the evidence, the Court found that (1) Cybergenetics had availed

itself to the subpoena power of the court and (2) the source code was now located in Fairfax

County, therefore, the Court

        ORDERED that Cybergenetics' Motion to Quash be denied and that Cybergenetics' Motion

for Reconsideration and Motion for Amended Protective Order be granted in part. The Court

modified the protective order. The Court further

       ORDERED that the protective order previously entered by the Court in this case on August

25, 2020, be modified and that the information provided in response to this Order in this case shall

be subject to the attached protective order,

       ORDERED that the Accused's Motion to Exclude DNA continue to be taken under

advisement. The Court further

       IT IS FURTHER ORDERED that this case is to be set on the Court's docket on October 23,
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     2020, at 9:00 a.m. for a review of compliance with this Order.



                ENTERED this     / 7 t7day   of   aCe4e.it-- , 2020.




SEEN AND OBJECTED TO:                         SEEN AND
OFFICE OF THE PUBLIC DEFENDER                 COMMONWEALTH OF VIRGINIA


By:                                           By:
Bryan Ke •       VSB # 82282                  Lauren atm, Esq.
Senior Assistant Public Defender              Assistant Commonwealth's Attorney
4103 Chain Bridge Road, Suite 500             4110 Chain Bridge Road, Suite 114
Fairfax, VA 22030                             Fairfax, VA 22030
p. (703) 934-5600 x136
f. (703) 934-5160
bkermedy@vadefenders.org




SEEN AND AGREED TO:
CARROLL & NUTTAL, P.C.

By:       A 00,,,10:
Brandon Shapiro, Esq.
10521 Judicial Drive, Suite 110
Fairfax, VA 22030
703-273-7007
Brandon.shapiro@carrollnuttall.com
         Case 2:19-cr-00369-DWA Document 131-3 Filed 01/20/21 Page 3 of 4




  VIRGINIA:

                  IN THE CIRCUIT COURT OF FAIRFAX COUNTY

 COMMONWEALTH OF VIRGINIA

 VS.                                                  Crim. No.: FE-2019-279


 CLARK WATSON,                                        Court Date: October 9, 2020
     Defendant.

                                       PROTECTIVE ORDER

         On October 14, 2020, the Court heard argument on Cybergenetics'Motion to Amend and

 Reconsider the Protective Order previously in place regarding the source code for the TrueAllele

 software. After hearing argument from Cybergenetics, counsel for the defendant, and the

 Commonwealth Attorney, the Court GRANTED Cybergenetics'motion and hereby ORDERED:

        Cybergenetics shall make their source code available to counsel for the defendant, and any

experts the defense may retain to review the source code for the TrueAllele software. Persons

authorized to view the documents provided under this order may view the materials only at the

office of Brandon Shapiro, Counsel for Cybergenetics, located at Carroll & Nuttall, P.C., 10521

Judicial Drive, Suite 110, Fairfax, VA 22030. Counsel shall arrange dates and times for access to

review the source code. At no time shall the source code be removed from the iPad or the Carroll &

Nuttall Law Office. Counsel for the defendant and any experts retained by the defense shall be

allowed to take notes, but absolutely no videos, recordings or any other format of copying shall be

made of the source code. Photographs will be allowed only upon the request of the defendant and

written authorization of Cybergenetics. If any parties deem it necessary, they may petition the Court

for modifications of this Protective Order.

                                      ENTERED this / 1 rkday of      d'eetik,-     ,2020.
       Case 2:19-cr-00369-DWA Document 131-3 Filed 01/20/21 Page 4 of 4




 SEEN AND OBJECTED TO:               SEEN ANIP-1
 OFFICE OF THE PUBLIC DEFENDER       COMMONWEALTH OF VIRGINIA


By:                                  By:
Bryan Kennedy, VSB # 82282           Lauren Hahn, Esq.
Senior Assistant Public Defender     Assistant Commonwealth's Attorney
4103 Chain Bridge Road, Suite 500    4110 Chain Bridge Road, Suite 114
Fairfax, VA 22030                    Fairfax, VA 22030
p. (703) 934-5600 x136
f. (703) 934-5160
bkennedy@vadefenders.org


SEEN AND AGREED TO:
CARROLL & NUTTAL, P.C.



      on Shapiro, Esq.
10521 Judicial Drive, Suite 110
Fairfax, VA 22030
703-273-7007
Brandon.shapiro@carrollnuttall.com
